      Case 2:18-cv-10029-VAP-MAA Document 27
                                          23 Filed 03/08/19
                                                   02/26/19 Page 1 of 2 Page ID #:113
                                                                                #:108

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                    IRUWKH
                                                        &HQWUDO 'LVWULFW RI &DOLIRUQLD
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

 25/$1'2 528&+21 :<7$6+$ -867,&( -5
  D PLQRU E\ DQG WKURXJK KHU *XDUGLDQ $G /LWHP
                  5REHUW 3RZHOO

                            Plaintiff(s)
                                 Y                                           &LYLO$FWLRQ1R FY9$3 0$$[
 &2817< 2) /26 $1*(/(6 *$%5,(/$ 72'0,$
  .,0%(5/< $//(1 'RH  DQG 'RHV  WKURXJK 
                 ,QFOXVLYH

                           Defendant(s)


                                                    6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) &RXQW\ RI /RV $QJHOHV *DEULHOD 7RGPLD .LPEHUO\ $OOHQ 'RH 
                                            :HVW 7HPSOH 6WUHHW 5RRP 
                                           .HQQHWK +DKQ +DOO RI $GPLVWUDWLRQ
                                           /RV $QJHOHV &$ 




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH
                                           'RQQLH 5 &R[ (VT /DZ 2IILFH RI 'RQQLH 5 &R[  1RUWK 1HYDGD 6WUHHW
                                           2FHDQVLGH &$  DQG
                                           3DXO : /HHKH\ (VT /DZ 2IILFH RI 3DXO : /HHKH\  ( )LJ 6WUHHW 6WH 
                                           )DOOEURRN &$ 


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                CLERK OF COURT


'DWH     2/26/19                                                               B. Moss
                                                                                          Signature of Clerk or Deputy Clerk
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 AO 440 (Rev. 06/12)    St111111101l$   in a Civil Action (Page 2)

  Civil Action No. 2:18-cv-10029-VAP(MAAx)

                                                                       PROOF OF SERVICE
                        (T/,is section s/l()uf<l 1101 be filed with t/re cow·/ rmless require,/ by Fed. R. Civ. P. 4 (I))

           This summons for (name c>/'i1ulh>id11al and 1iile. 1/any) County of Los Angeles
  was received by me on (date) February 26, 2019

           CJ I personally served the summons on the individual at (place)
                                                                                            on   (date)                               ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                            • a person of suitable age and discretion who resides there,
           011 (date)                                         , and mailed a copy to the individual's last known address; or

          IZI I served the summons on (11t1111e ofimlividual)                    Kathrine Medina, Deputy Clerk . .                               , who is
           designated by law to accept service of process on behalf of (name of01;r:1111izalio11J Cou_~_~y__()f L<>s Angeles
         a_t_~9Q v.Y.:_I~mple Street, Rm_f:t~~~. _Los Angeles? C.3 ~qCJ_12on (date) _February 28, __2019_                             ; or

          0 I returned the summons unexecuted because                                                                                               : or

          0 Other (.rpecijj~:




          My fees are$                                       for travel and $                    for services, for a total of$ 95.00


          I declare under penalty of pe1jury that this information is true.


 Date:    M9 r<::h Q5_,_2Q 19

                                                                                            JORGE RIVERA, LACPS#4690
                                                                                                                        .... ......
                                                                                                     Printed 11ame and title




                                                                                        .P..Q ~Q~. ~§-~_2.!:i .SAN PJE.=..G.9..GA _9 2_1 38___
                                                                                                          Server's add1·ess

Additional infonnation regarding attempted service, etc:
